* Case 3:09-cr-00210-B Document 104 Filed 02/10/12 Page1iof2 PagelD 798

IN THE UNITED STATES COURT OF APPEALS

FOR THE FIFTH CIRCUIT
3: C4CQRQ10

No. 11-10302

 

 

U.S. DISTRICT COURT

UNITED STATES OF AMERICA, NORTHERN DISTRICT OF TEXAS

 

 

 

 

 

 

! FUELED
Plaintiff - Appellee
FEB 4 0 2012
v.
CLERK, U.S. DISTRICT cou
JESSE WILLIAM MCGRAW, oy spaty N

 

 

Defendant - Appellant

 

Appeal from the United States District Court for the
Northern District of Texas, Dallas

 

CLERK'S OFFICE:
Under FED. R. App. P. 42(b), the appeal is dismissed as of February 07,

2012, pursuant to appellant's unopposed motion.

LYLE W. CAYCE
Clerk of the United States Court
of Appeals for the Fifth Circuit

 

Mary C. Stewart, Deputy Clerk

ENTERED AT THE DIRECTION OF THE COURT

  
 
 

“esis, 17. &. Cont of Repects, Pith Chrautt

 

£ FER OF 2017
Sow Orleans, Low! FEB OC 201
‘Case 3:09-cr-00210-B Document 104 Filed 02/10/12 Page 2of2 PagelD 799

United States Court of Appeals

OFFICE OF THE CLERK

LYLE W. CAYCE TEL. 504-310-7700

CLERK 600 S. MAESTRI PLACE
NEW ORLEANS, LA 70130

February 07, 2012

 
    

Ms. Karen S. Mitchell

Northern District of Texas, Dallas
United States District Court

1100 Commerce Street

Earle Cabell Federal Building
Room 1452

Dallas, TX 75242

FEB | 0 2012

CLERK, US. DISTRICT COURT
NOATHERN DISTRICT OF TEXAS

aera emmy

 

 

 

No. 11-10302, USA v. Jesse McGraw
USDC No. 3:09-CR-210-1

Enclosed is a copy of the judgment issued as the mandate.

Sincerely,
LYLE W. CAYCE, Clerk

Mary C. Stewart, Deputy Clerk
504-310-7694

 

cc w/encl:

Mr. James Nicholas Bunch
Ms. Kimberly S. Keller
